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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION

SOUTHERN PIONEER PROPERTY AND                                                          PLAINTIFF
CASUALTY INSURANCE COMPANY

VS.                                                                    2:16-cv-02779
                                                    CIVIL ACTION NO. __________________

LEGEND AUTO SALES, LLC,                                                          DEFENDANTS
FEMI FOLORUNSHO, and
LIBERTY MUTUAL GENERAL
INSURANCE COMPANY

                    COMPLAINT FOR DECLARATORY JUDGMENT

       COMES NOW, the Plaintiff, Southern Pioneer Property and Casualty Insurance

Company (hereinafter “Southern Pioneer”), by and through counsel, and files its complaint for

declaratory judgment concerning the rights and duties of the parties pertaining to a contract of

insurance issued to Legend Auto Sales, LLC and would show unto the Court as follows:

                                           PARTIES

1.     Southern Pioneer is an insurance company authorized to do business in Tennessee, is

       incorporated in Arkansas and has its principal place of business in Arkansas.

2.     Defendant Legend Auto Sales, LLC (“Legend”) is a Tennessee limited liability company

       having its principal place of business at 3251 Jackson Ave., Memphis, TN. Legend was

       administratively dissolved effective August 6, 2016. Legend’s last known registered agent

       for process was identified as The Legend, located at 3251 Jackson Ave., Memphis, TN.

       Dr. Femi Folorunsho is the President/Managing Member of Legend.

3.     Defendant Dr. Femi Folorunsho is an individual, a citizen of the State of Tennessee,

       whose place of residence is in Shelby County, TN. Dr. Folorunsho may be served with


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     process wherever he may be found.

4.   Defendant Liberty Mutual General Insurance Company (“Liberty Mutual”) is an insurance

     company organized and existing under the laws of the State of Illinois, and having its

     principal place of business at 175 Berkeley Street, Boston, MA 02116. Liberty Mutual

     may be served with process through the Tennessee Department of Commerce and

     Insurance.

                              JURISDICTION AND VENUE

5.   This Court has jurisdiction pursuant to the provisions of 28 U.S.C. § 1332(a) as this action

     is between citizens of different States and the amount in controversy, exclusive of interest

     and costs, exceeds the sum or value of $75,000.00.

6.   Venue is proper in the Western Division of the United States District Court for the

     Western District of Tennessee pursuant to 28 U.S.C. § 1391(a) and ( c), as well as the

     Local Rules for the Western District, LR 3.3(a) and LR 3.3(b)(2).

7.   This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201 for the purpose of

     determining questions of actual controversy between the parties as will hereinafter more

     fully appear. This is a real, substantial, and justiciable controversy between the parties

     concerning the contractual relationship of the parties with respect to certain contracts of

     insurance.

                               FACTUAL ALLEGATIONS

8.   Southern Pioneer issued Legend Auto Sales, LLC a Garage Policy, bearing policy number

     CP00004138 (hereinafter “Policy”) a certified copy of which is attached hereto as Exhibit

     “A”.


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9.    The Policy was effective from October 3, 2015 through October 3, 2016, at 12:01 a.m.,

      and any coverage provided therein was subject to all terms, conditions and exclusions

      stated in the policy and all attendant endorsements.

10.   The named insured, Legend Auto Sales, LLC, and any other person who may qualify as an

      “insured” under the policy, including Dr. Femi Folorunsho, are charged with knowledge

      of said policy terms, conditions and exclusions and are bound by the same.

11.   Upon information and belief, Legend Auto Sales, LLC is in the business of buying,

      selling, and/or leasing automobiles.

12.   Upon information and belief, Dr. Femi Folorunsho is the President and Managing Member

      of Legend Auto Sales, LLC.

13.   On or about December 13, 2014, Legend came into ownership of a 2004 Ford Mustang,

      VIN No. 1FAFP44614F177466 (the “Vehicle”).

14.   On or about August 6, 2015, Legend leased the Vehicle to Everick Morris pursuant to a

      lease-purchase contract.

15.   Mr. Morris took possession of the Vehicle on or about August 6, 2015.

16.   On or about November 15, 2015, Legend repossessed the Vehicle.

17.   Legend claims that upon repossession of the Vehicle from Mr. Morris that it discovered

      new damage to the Vehicle that occurred while Mr. Morris was in possession of the

      Vehicle.

18.   Upon information and belief, at all times relevant to his possession of the Vehicle Mr.

      Morris was insured by Liberty Mutual under an automobile policy of insurance, number

      AOS-258-227001-40-5-1, having a policy period from February 11, 2015 through


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      February 11, 2016.

19.   Upon information and belief, on or about February 11, 2016, Dr. Folorunsho caused a

      Complaint to be filed on behalf of Legend against Liberty Mutual Insurance Company in

      General Sessions Court for Shelby County, Tennessee.

20.   The Complaint alleged that Liberty Mutual Insurance Company denied a claim made by

      Legend for insurance benefits in bad faith, entitling Legend to damages.

21.   Upon information and belief, Legend based its entitlement to policy proceeds from

      Liberty Mutual on its position that it was a “loss payee” on the policy issued by Liberty by

      virtue of an endorsement dated August 13, 2015.

22.   Upon information and belief, the claim Legend made was for damages to the Vehicle

      which allegedly occurred during the time Mr. Morris had possession of the Vehicle from

      approximately August 6, 2015 through November 15, 2015.

23.   A trial was set on the General Sessions Complaint, and judgment was rendered in favor of

      Legend.

24.   Liberty Mutual Insurance Company appealed the General Sessions judgment to the Circuit

      Court for Shelby County, Tennessee.

25.   In the Circuit Court appeal, Liberty Mutual Insurance Company sought leave to substitute

      Liberty Mutual General Insurance Company, the insurer for Mr. Morris as the proper

      party, and such leave was granted.

26.   In the Circuit Court appeal, Liberty Mutual General Insurance Company filed a

      Counterclaim against Legend Auto Sales and Dr. Folorunsho. A copy of the Counterclaim

      is attached here as Exhibit “B”.


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27.          The Counterclaim makes the following factual allegations1:

                                 COUNTERCLAIM AGAINST LEGEND AUTO SALES, LLC, AND DR. FEMI
                                                      FOLORUNSHO

                         …
                                                           FACTUAL ALLEGATIONS
                         7.         Liberty Mutual incorporates the preceding Paragraphs as if fully set forth herein.

                         8.          Upon information and belief, Legend Auto is in the business of buying, leasing and
                         selling automobiles.

                         9.         Upon information and belief, Dr. Folorunsho is the owner of Legend Auto.

                         10.     Upon information and belief, Legend Auto came to own a 2004 Ford Mustang, VIN No.
                         1FAFP44614F177466 (the “Vehicle”), on or about December 13, 2014.

                         11.        Upon information and belief, on or about August 6, 2015, Legend Auto leased the
                         Vehicle to Everick Morris (“Mr. Morris”) pursuant to a lease-purchase contract (the “Lease”). A true
                         and correct copy of the Lease is attached hereto as Exhibit 1.

                         12.       Upon information and belief, Mr. Morris took possession of the Vehicle on or about
                         August 6, 2015, pursuant to the Lease, but soon thereafter offered to return the Vehicle to Legend
                         Auto.

                         13.      Upon information and belief, Legend Auto repossessed the Vehicle on or about
                         November 15, 2015.

                         14.        Legend Auto claims that upon repossessing the Vehicle it discovered new damage to the
                         Vehicle that occurred while Mr. Morris was in possession of the Vehicle.

                         15.        Mr. Morris was insured by Liberty Mutual under and automobile insurance policy, policy
                         number AOS-258/-227001-40-5-1, with a policy period of 2/11/2015 – 2/11/2016 (the “Policy”). A
                         copy of the Policy is attached hereto as Exhibit 2.

                         16.        Upon information and belief, Dr. Folorunsho is the authorized agent of Legend Auto.

                         17.       Upon information and belief, Dr. Folorunsho caused the Complaint to be filed in Legend
                         Auto’s behalf on February 11, 2016. A copy of the Complaint is attached hereto as Exhibit 3.

                         18.        The Complaint alleges that Liberty Mutual denied a claim made by Legend Auto in bad
                         faith pursuant to T.C.A. § 56-7-105 (the “Claim”).

                         19.        Legend Auto supports the Claim by alleging that it was named as a “loss payee” on the
                         Policy pursuant to an amendment to the policy dated August 13, 2015 (the “Endorsement”). A copy
                         of the Endorsement is attached hereto as Exhibit 4.

                         20.       The Claim asserted by Legend Auto was for damages allegedly sustained to the Vehicle
                         while it was in the possession of Mr. Morris, at some point after August 6, 2015 and before
                         November 15, 2015.

                         21.        Prior to the Legend Auto Trial, Dr. Folorunsho sent pictures of the damages he alleged to
                         have occurred to the Vehicle (the “Photographs”) to counsel for Liberty Mutual by electronic mail
                         on Wednesday, May 11, 2016. A copy of the email correspondence and the attached Photographs are
                         attached hereto as Exhibit 5.

                         22.        Dr. Folorunsho testified under oath at the Legend Trial in the General Sessions Court.
                         The transcript of Dr. Folorunsho’s testimony at the Legend Auto Trial (hereinafter “Folorunsho
                         Transcript”) is attached hereto as Exhibit 6.

                         23.       Dr. Folorunsho testified that the Photographs show damage to the Vehicle that occurred
                         at some point after August 6, 2015 and before November 15, 2015, when Mr. Morris had possession


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    For a complete recitation of the allegations, please see Counterclaim with its attached exhibits, attached hereto as Exhibit “B”.
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           of the Vehicle. See Folorunsho Transcript p. 15, ¶¶ 21-22 (“The damage happened when [Mr.
           Morris] was in possession of the car.”)

           24.        The Photographs were in fact taken prior to August 6, 2015, and prior to the time that Mr.
           Morris took possession of the Vehicle.

           25.         In fact, the damage shown to the Vehicle in the Photographs had been used to support an
           earlier claim for damages to the Vehicle which occurred in 2014. See documents related to Co-Parts
           information for Lot No. 14735805, VIN No. 1FAFP44614F177466 attached hereto as Exhibit 7.

           26.          As is made clear in Exhibit 7, the damage shown to the Vehicle in the Photographs
           (Exhibit 5) occurred before Mr. Morris entered into the Lease and before Legend Auto was allegedly
           listed as a loss payee on the Policy.

           27.        As a consequence, Dr. Folorunsho, Legend Auto’s representative, intentionally made
           material and false representations regarding the subject matter and timing of the Photographs, both to
           Liberty Mutual and to the General Sessions Court, that directly and adversely affected Liberty
           Mutual and the outcome of the Legend Auto Trial.

                                              CAUSES OF ACTION
           Count I – Intentional Misrepresentations – Legend Auto Sales, LLC, and Dr. Femi Folorunsho

           28.        Liberty Mutual incorporates the preceding Paragraphs as if fully set forth herein.

           29.        Prior to the Legend Auto Trial, Dr. Folorunsho represented to Liberty Mutual that the
           Photographs were of damages to the Vehicle that occurred during the period of time Mr. Morris had
           possession of the Vehicle.

           30.        During the Legend Auto Trial, Dr. Folorunsho, as a representative of Legend Auto,
           represented to Liberty Mutual and to the General Sessions Court that the Photographs were of
           damages to the Vehicle that occurred during the period of time Mr. Morris had possession of the
           Vehicle.

           31.         Dr. Folorunsho’s representations, both before and during the Legend Auto Trial, that the
           Photographs were of damages to the Vehicle that occurred during the period of time Mr. Morris had
           possession of the Vehicle were false when he made them, because the Photographs were taken prior
           to the time Mr. Morris took possession of the Vehicle, as is made clear in Exhibit 7.

           32.         Whether the Photographs show damage to the Vehicle that occurred during the period of
           time Mr. Morris was in possession of the Vehicle is a material fact, because Legend Auto claims to
           be entitled to insurance proceeds based upon the Photographs.

           33.        At the time Dr. Folorunsho made his intentional misrepresentations, both he and Legend
           Auto knew the Photographs were not of damages that occurred while Mr. Morris was in possession
           of the Vehicle.

           34.        Liberty Mutual did not know Dr. Folorunsho’s representations were false when he made
           them.

           35.        Liberty Mutual (and the General Sessions Court) justifiably relied on Dr. Folorunsho’s
           representations.

           36.        Liberty Mutual sustained damages sue to Dr. Folorunsho’s material testimonial and extra-
           testimonial misrepresentations, both through the adverse judgment in the Legend Auto Trial, by
           incurring attorneys’ fees related to the Legend Auto Trial, and in brining this Appeal and
           Counterclaim.

                        Count II – Fraud – Legend Auto Sales, LLC, and Dr. Femi Folorunsho

           37.        Liberty Mutual incorporates the preceding Paragraphs as if fully set forth herein.

           38.        Prior to the Legend Auto Trial, Dr. Folorunsho represented to Liberty Mutual that the
           Photographs were of damages to the Vehicle that occurred during the period of time Mr. Morris had
           possession of the Vehicle.

           39.        Dr. Folorunsho’s representations, both before and during the Legend Auto Trial, as a
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           representative of Legend Auto, were that the Photographs were of damages to the Vehicle that
           occurred during the period of time Mr. Morris had possession of the Vehicle.

           40.         Dr. Folorunsho’s representations, both before and during the Legend Auto Trial, that the
           Photographs were of damage to the Vehicle that occurred during the period of time Mr. Morris had
           possession of the Vehicle were false when he made them because the Photographs were taken prior
           to the time Mr. Morris took possession of the Vehicle.

           41.         Whether or not the Photographs show damage to the Vehicle that occurred during the
           period of time Mr. Morris was in possession of the Vehicle is a material fact, because Legend Auto’s
           claim to insurance proceeds was based upon the Photographs.

           42.        At the time Dr. Folorunsho made his intentional misrepresentations, both he and Legend
           Auto knew the Photographs were not of damage that occurred while Mr. Morris was in possession of
           the Vehicle.

           43.        Liberty Mutual did not know Dr. Folorunsho’s representations were false when he made
           them.

           44.        Liberty Mutual (and the General Sessions Court) justifiably relied on Dr. Folorunsho’s
           representation.

           45.         Liberty Mutual sustained damages due to Dr. Folorunsho’s material testimonial and
           extra-testimonial misrepresentations, both through the adverse judgment in the Legend Auto Trial,
           by incurring attorneys’ fees related to the Legend Auto Trial, and in brining this Appeal and
           Counterclaim.

                         Count III – Violation of T.C.A § 56-7-106 – Legend Auto Sales, LLC

           46.        Liberty Mutual incorporates the preceding Paragraphs as if fully set forth herein.

           47.        Legend Auto brought the underlying lawsuit and filed the Complaint against Liberty
           Mutual in bad faith.

           48.        Dr. Folorunsho, Legend Auto’s representative, made material misstatements knowingly
           and with the intent to deceive and defraud Liberty Mutual.

           49.        Liberty Mutual has suffered damages as a result of Legend Auto’s bad faith.

           50.      Liberty Mutual is entitled to recover a bad faith penalty of 25% of the losses claimed by
           Legend Auto pursuant to T.C.A. § 56-7-106.

                              Count IV – Breach of Contract – Legend Auto Sales, LLC

                      51.      A valid contract existed between Liberty Mutual and Legend Auto by virtue
           of the Endorsement.

                     52.       Legend Auto had an implied duty not to submit fraudulent claims in
           connection with the Policy and/or the Endorsement and an implied duty of good faith and fair
           dealing.

                       53.       Legend Auto breached the contract by submitting the fraudulent Claim and
           filing the Complaint.

                      54.        Liberty Mutual has suffered damages as a result of Legend Auto’s breach.

                   Count V – Punitive Damages – Legend Auto Sales, LLC, and Dr. Femi Folorunsho

                      55.        Liberty Mutual incorporates the preceding Paragraphs as if fully set forth
           herein.

                      56.        Legend Auto’s conduct as alleged herein was intentional, knowing, reckless,
           and malicious.

                       57.       Dr. Folorunsho’s conduct as alleged herein was intentional, knowing,
           reckless, and malicious.

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                      58.        The conduct of Legend Auto and Dr. Folorunsho caused damages to Liberty
           Mutual.
                       59.      Liberty Mutual is entitled to an award of punitive damages from Legend Auto
           as a result of Legend Auto’s intentional, knowing, reckless and malicious conduct and breach of
           contract.

                     60.          Liberty Mutual is entitled to an award of punitive damages from Dr.
           Folorunsho as a result of his intentional, knowing, reckless and malicious conduct.

                             Count VI – Declaratory Judgment – Legend Auto Sales, LLC

                      61.        Liberty Mutual incorporates the preceding Paragraphs as if fully set forth
           herein.

                       62.        As a cause of action and ground for relief, Liberty Mutual alleges that it is
           entitled to a declaratory judgment that Legend Auto had no cause of action for denial of insurance
           coverage in bad faith, that Legend Auto sustained no loss under the Policy, that Liberty Mutual is
           therefore not liable to Legend Auto for damages, and that the judgment of the General Sessions
           Court is reversed or otherwise set aside.

                      63.        Legend Auto is a “person” as defined under T.C.A. § 29-14-101.

                      64.        There exists a substantial controversy of sufficient immediacy to warrant
           declaratory judgment.

                     65.          Legend Auto prevailed at the Legend Auto Trial based upon the Photographs,
           which constitute falsified proof of damage to the Vehicle.

                       66.        Dr. Folorunsho, as a representative of Legend Auto, lied prior to trial and
           later, at trial, under oath, about the subject matter of the Photographs, thereby tainting the
           proceedings below and leading the General Sessions Court to erroneous conclusion that Legend
           Auto had established damages sufficient to support its claim.

                     67.         Liberty Mutual is therefore entitled to a declaratory judgment that is not liable
           to Legend Auto for the claims asserted in the Complaint.

                                 County VII – Declaratory Judgment – Dr. Folorunsho

                      68.        Liberty Mutual incorporates the preceding Paragraphs as if fully set forth
           herein.

                      69.         As a cause of action and ground for relief, Liberty Mutual alleges that it is
           entitled to a declaratory judgment that Dr. Folorunsho testified falsely and made material
           misrepresentations as to the nature of the Photographs.

                      70.        Dr. Folorunsho is a “person: as defined under T.C.A. § 29-14-101.

                      71.        There exists a substantial controversy of sufficient immediacy to warrant
           declaratory judgment.

                       72.       Legend Auto prevailed at the Legend Auto Trial based upon Dr. Folorunsho’s
           false testimony, which constitutes falsified proof of damage to the Vehicle.

                       73.       Dr. Folorunsho lied prior to the trial and later, at trial, under oath, about the
           subject matter of the Photographs, thereby tainting the proceedings below and leading the General
           Sessions Court to erroneous conclusion that Legend Auto had established damages sufficient to
           support its claim.

                       74.       Liberty Mutual is therefore entitled to a declaratory judgment that it is not
           liable to Legend Auto for the claims asserted in the Legend Auto Lawsuit and that Dr. Folorunsho
           proffered false testimony and otherwise perjured himself by lying under oath at the Legend Auto
           Trial.

                 Count VIII – Abuse of Process – Legend Auto Sales, LLC and Dr. Femi Folorunsho


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                      75.          Legend Auto and Dr. Folorunsho had an ulterior motive at the time they filed
            the Complaint.
                      76.          Legend Auto and Dr. Folorunsho knowingly and intentionally proffered false
            testimony with the intent of defrauding Liberty Mutual.

                       77.         Legend Auto and Dr. Folorunsho’s acts of proffering testimony they knew to
            be false constitutes an act that would not be proper in the regular prosecution of its claims against
            Liberty Mutual in the Complaint.

                        78.         Liberty Mutual has suffered damages as a result of Legend Auto’s abuse of
            the judicial process.

                                                      Prayer for Relief

                        WHEREFORE, Liberty Mutual prays for the following relief:

                      a.         That the Court reverse, set aside, or otherwise strike the decision of the
            General Sessions Court in this case;

                      b.         That the Court enter judgment in favor of Liberty Mutual and against Legend
            Auto Sales, LLC, and Dr. Femi Folorunsho, as alleged in Count I, in an amount to be determined at
            trial;

                      c.         That the Court enter judgment in favor of Liberty Mutual and against Legend
            Auto Sales, LLC, and Dr. Femi Folorunsho, as alleged in Count II, in an amount to be determined at
            trial;

                       d.         That the Court enter judgment in favor of Liberty Mutual as against Legend
            Auto Sales, LLC as alleged in Count III, in the amount of 25% of the damages Legend Auto requests
            in its Complaint;

                      e.          That the Court enter judgment in favor of Liberty Mutual against Legend Auto
            Sales, LLC, as alleged in Count IV, in an amount to be determined at trial;

                      f.         That the Court enter judgment in favor of Liberty Mutual against Legend Auto
            Sales, LLC, and Dr. Femi Folorunsho, as alleged in County V, in an amount to be determined at trial;

                      g.         That the Court enter a declaratory judgment, as alleged in Count VI, that
            Legend Auto Sales, LLC, had no cause of action for denial of insurance coverage in bad faith, that
            Legend Auto sustained no loss under the Policy, that Liberty Mutual is therefore not liable to Legend
            Auto for damages, and that the judgment of the General Sessions Court is reversed or otherwise set
            aside;

                        h.       That the Court enter a declaratory judgment, as alleged in Count VII, that Dr.
            Folorunsho proffered false testimony, lied under oath, and otherwise perjured himself at the Legend
            Auto Trial;

                      i.         That the Court enter judgment in favor of Liberty Mutual against Legend Auto
            Sales, LLC, and Dr. Folorunsho, as alleged in Count VIII, in an amount to be determined at trial;

                      j.         That the Court find that Dr. Folorunsho perjured himself during the Legend
            Auto Trial and issue such sanctions, fines and/or penalties in an amount to be determined by the
            Court;

                     k.         That the Court find Dr. Folorunsho in contempt for his conduct during the
            Legend Auto Trail and issue such sanctions, fines and/or penalties as the Court deems appropriate;
            and

                        l.          That the Court grant such other and further relief to which Liberty Mutual is
            entitled.


28.   The Counterclaim seeks compensatory damages, a statutory penalty, and punitive


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      damages from Legend and Dr. Folorunsho resulting from alleged intentional

      misrepresentation, fraud, breach of contract, abuse of process, and violations of the T.C.A.

      §56-7-106.

29.   The Counterclaim also seeks declaratory judgment as to Liberty Mutual’s obligations

      under its policy as to Legend and Dr. Folorunsho.

30.   The Counterclaim also seeks a determination that Dr. Folorunsho perjured himself during

      the General Sessions trial, and that he be found in contempt and assessed sanctions, fines,

      and/or penalties for his conduct.

31.   After being provided the Counterclaim in the Circuit Court case, Dr. Folorunsho and

      Legend submitted the Counterclaim to Southern Pioneer seeking defense and

      indemnification for the claims against them pursuant to the terms and conditions of the

      Policy.

32.   Southern Pioneer has denied any obligation to defend or indemnify either Dr. Folorunsho

      or Legend under the terms and conditions of the Policy issued to Legend Auto Sales, LLC.

33.   Dr. Folorunsho and Legend have demanded Southern Pioneer provide defense or face

      litigation for bad faith refusal to defend.

34.   The liability limit on the Policy is $300,000.00.

35.   There is no limit to the costs which may be incurred by Southern Pioneer in defense of

      any suit falling within the coverage afforded by the Policy.

36.   Southern Pioneer estimates its potential liability under the Policy for indemnity and

      defense of Legend and Dr. Folorunsho to be in excess of $75,000.00 in the event coverage

      is afforded under the Policy and a judgment is rendered in favor of Liberty Mutual as to


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              all claims in the Circuit Court Counterclaim.

37.           There is a material question as to whether the Policy issued by Southern Pioneer provides

              coverage to Legend Auto Sales, LLC or Dr. Femi Folorunsho for the claims made against

              them in the Counterclaim, or whether there is any duty to defend either of them in the

              Counterclaim filed by Liberty Mutual or to indemnify them from any judgment which

              may be rendered against them as a result.

38.           The Policy provides the following, in pertinent part2:

                                                   GARAGE POLICY AND COVERAGE ALLEGATIONS

                                                             AUTO DEALER DECLARATIONS
ITEM ONE
Named Insured Legend Auto Sales LLC                                           Agent             Clay and Land Insurance, Inc.
DBA Name                                                                      Phone            (901) 767-3600
Address 1        3251 Jackson Ave                                             Policy Number CP00004138
City, State, Zip Memphis, TN 38122                                            Effective Dates 10/30/2015 to 10/03/2016 12:01
                                                                              AM Standard at the location address(es) listed on Item 3

ITEM TWO                                  Coverages                                    Limit of Insurance                                Premium
                              Symbols shown below describe
Coverages                     coverage(s) for covered autos
                              under the Garage Liability
                              Coverage Form – Refer to Policy
                              for description of Covered Auto
                              Designation Symbols
           Liability                          33                   Each “accident “Garage Operations                                        $2,191.00

                                                                   “Auto” only                                      $300,000

                                                                   Other than “auto” only                           $300,000

                                                                   Aggregate “Garage Operations”
                                                                   Other than “auto” only                           $900,000



        Personal injury                                                             Separately Stated In Each
       Protection (PIP)                                                                PIP Endorsement
    (or equivalent no-fault
          insurance)
            Medical                                                No Coverage           Auto And Premises Operations
           Payments
          Uninsured                           34                   Bodily Injury & Property Damage: $100,000                                  $84.00
           Motorist
         Underinsured
           Motorist
        Garagekeepers                                                               Separately Stated for Each
        Comprehensive                                                                 Location in Item Six

       Garagekeepers                                                                Separately Stated for Each
         Collision                                                                    Location in Item Six

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    See Policy, attached as Exhibit “A”, for complete terms and conditions.
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     Physical Damage                      34                                       $1,000 Deductible                         $943.00
      Comprehensive                                                   For Each Covered Auto Deductible Applies
                                                                             To Loss Caused for All Perils
                                                                            See Item Seven for Dealers Autos
     Physical Damage                      34                                       $1,000 Deductible                         $506.00
        Collision                                                               For Each Covered Auto
                                                                            See Item Seven for Dealers Autos
IMPORTANT: Coverage is granted only where a premium is          Additional Coverages (see Page 2)                             $25.00
shown. Each of these coverages will apply only to those autos   Total Premium                                              $3,749.00
shown as covered autos. Autos are shown as covered autos for    Fees                                                          $50.00
a particular coverage by the entry if one or more of the        Total Premium + Fees (Total Amount Due)                    $3,799.00
symbols from Policy next to the name of coverage. Entry of a
symbol next to liability provides coverage for Garage
Operations.
***To Report a Claim Please Call 1(800)-898-7580***

                                                                                                                 COMMERCIAL AUTO
                                                                                                                     CA 00 05 03 10

GARAGE COVERAGE FORM

Various provisions in this policy restrict coverage.
Read the entire policy carefully to determine rights,
duties and what is and is not covered.

Throughout this policy the words "you" and "your" refer
to the Named Insured shown in the Declarations.
The words "we", "us" and "our" refer to the company
providing this insurance.

Other words and phrases that appear in quotation
marks have special meaning. Refer to Section VI -
Definitions.

SECTION I - COVERED AUTOS

Item Two of the Declarations shows the "autos" that are
covered "autos" for each of your coverages. The
following numerical symbols describe the "autos" that
may be covered "autos". The symbols entered next to a
coverage on the Declarations designate the only
"autos" that are covered "autos".

…

SECTION II- LIABILITY COVERAGE
A.         Coverage
           1.          "Garage Operations" - Other Than Covered "Autos"


                 a. We will pay all sums an "insured" legally
                    must pay as damages because of "bodily
                    injury" or "property damage" to which this
                    insurance applies caused by an "accident"
                    and resulting from "garage operations"
                    other than the ownership, maintenance or
                    use of covered "autos".

                       We have the right and duty to defend any
                       "insured" against a "suit" asking for these
                       damages. However, we have no duty to de-
                       fend any "insured" against a "suit" seeking
                       damages for "bodily injury" or "property
                       damage" to which this insurance does not
                       apply. We may investigate and settle any
                       claim or "suit" as we consider appropriate.
                       Our duty to defend or settle ends when the
                                                                     12
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                applicable Liability Coverage Limit of Insur-
                ance - "Garage Operations" - Other Than
                Covered "Autos" has been exhausted by
                payment of judgments or settlements .

            b. This insurance applies to "bodily injury" and
                "property damage" only if:

                (1)       The "accident" occurs in the coverage territory;

                (2)       The "bodily injury" or "property damage"
                          occurs during the policy period; and

                (3)       Prior to the policy period, no "insured"
                          listed under Who Is An Insured and no
                          "employee" authorized by you to give or
                          receive notice of an "accident" or claim,
                          knew that the "bodily injury" or "property
                          damage" had occurred, in whole or in
                          part. If such a listed "insured" or authorized
                          "employee" knew, prior to the policy
                          period, that the "bodily injury" or "property
                          damage" occurred, then any continuation,
                          change or resumption of such
                          "bodily injury" or "property damage" during
                          or after the policy period will be
                          deemed to have been known prior to the
                          policy period.

           c.   "Bodily injury" or "property damage", which
                occurs during the policy period and was
                not, prior to the policy period, known to
                have occurred by any "insured" listed under
                Who Is An Insured or any "employee" au-
                thorized by you to give or receive notice of
                an "accident" or claim, includes any con-
                tinuation, change or resumption of that
                "bodily injury" or "property damage" after
                the end of the policy period.

           d.   "Bodily injury" or "property damage" will be
                deemed to have been known to have occurred
                at the earliest time when any "insured"
                listed under Who Is An Insured or
                any "employee" authorized by you to give or
                receive notice of an "accident" or claim:

                (1) Reports all, or any part, of the "bodily
                    injury" or "property damage" to us or any
                    other insurer;

                (2) Receives a written or verbal demand or
                    claim for damages because of the "bodily
                    injury" or "property damage"; or

                (3) Becomes aware by any other means
                    that "bodily injury" or "property damage"
                    has occurred or has begun to occur.

      2. "Garage Operations" - Covered "Autos"
          We will pay all sums an "insured" legally must
          pay as damages because of "bodily injury" or
          "property damage" to which this insurance ap-
          plies, caused by an "accident" and resulting
          from "garage operations" involving the owner-
          ship, maintenance or use of covered "autos".

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           We will also pay all sums an "insured" legally
           must pay as a "covered pollution cost or ex-
           pense" to which this insurance applies, caused
           by an "accident" and resulting from "garage
           operations" involving the ownership, mainte-
           nance or use of covered "autos". However, we
           will only pay for the "covered pollution cost or
           expense" if there is either "bodily injury" or
           "property damage" to which this insurance ap-
           plies that is caused by the same "accident".

           We have the right and duty to defend any "in-
           sured" against a "suit" asking for such dam-
           ages or a "covered pollution cost or expense".
           However, we have no duty to defend any "in-
           sured" against a "suit" seeking damages for
           "bodily injury" or "property damage" or a "cov-
           ered pollution cost or expense" to which this
           insurance does not apply. We may investigate
           and settle any claim or "suit" as we consider
           appropriate. Our duty to defend or settle ends
           when the Liability Coverage Limit of Insurance
           - "Garage Operations" - Covered "Autos" has
           been exhausted by payment of judgments or
           settlements.

       3. Who Is An Insured
           a. The following are "insureds" for covered
               "autos":

               (1) You for any covered "auto".

               (2) Anyone else while using with your per-
                  mission a covered "auto" you own, hire
                  or borrow except:

       …

           b. The following are "insureds" for "garage
               operations" other than covered "autos":

               (1) You.
               (2) Your partners (if you are a partnership),
                   members (if you are a limited liability
                   company), "employees", directors or
                   shareholders but only while acting within
                   the scope of their duties.

…

B.   Exclusions

     This insurance does not apply to any of the follow-
     ing:

     2. Contractual
        Liability assumed under any contract or
        agreement. But this exclusion does not apply
        to liability for damages:

     a. Assumed in a contract or agreement that is
        an "insured contract" provided the "bodily
        injury" or "property damage" occurs subsequent
        to the execution of the contract or
        agreement; or

     b. That the "insured" would have in the absence
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        of the contract or agreement.

…

SECTION VI – DEFINITIONS

A.      "Accident" includes continuous or repeated expo-
        sure to the same conditions resulting in "bodily in-
        jury" or "property damage".

B.      "Auto" means a land motor vehicle, "trailer" or
        semitrailer.

C.      "Bodily injury" means bodily injury, sickness or
        disease sustained by a person including death re-
        sulting from any of these.

…

H.      "Garage operations" means the ownership, main-
        tenance or use of locations for garage business
        and that portion of the roads or other accesses
        that adjoin these locations. "Garage operations"
        includes the ownership, maintenance or use of the
        "autos" indicated in Section I of this coverage form
        as covered "autos". "Garage operations" also include
        all operations necessary or incidental to a
        garage business.

I.      "Insured" means any person or organization qualifying
        as an insured in the Who Is an Insured provision
        of the applicable coverage. Except with re-
        spect to the Limit of Insurance, the coverage. Except with re-
        spect to the Limit of Insurance, the coverage af-
        forded applies separately to each insured who is
        seeking coverage or against whom a claim or
        suit" is brought.

…

O.      "Property damage" means damage to or loss of
        use of tangible property.

P.      "Suit" means a civil proceeding in which:

        1.        Damages because of "bodily injury" or "property
                  damage"; or

…
                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            SOUTHERN PIONEER PROPERTY
                                          & CASUAL TY INSURANCE COMPANY
                                     TENNESSEE GARAGE COVERAGE FORM CHANGES

        This endorsement modifies insurance provided under the following:

        GARAGE COVERAGE FORM

        Please Read

        YOUR INSURANCE POLICY CONSISTS OF THE DECLARATIONS PAGES, SUPPLEMENTARY SCHEDULE,
        THE GARAGE COVERAGE FORM, AND THE ENDORSEMENTS TO THE GARAGE COVERAGE FORM.
        VARIOUS PROVISIONS IN THE POLICY RESTRICT COVERAGE. PLEASE READ THE ENTIRE POLICY
        CAREFULLY.


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      In reliance upon your statements and representations in the application and in the endorsements and upon your
      payment of the full and final premiums, and subject to all the terms and conditions of the policy, we agree that the
      policy provides the various kinds of insurance you have selected as shown on the Declarations page and in the
      policy. This insurance applies only to accidents and losses which occur while the policy is in force.

      SECTION VI - DEFINITIONS, B. the definition of "Auto" is hereby deleted and replaced with the following:

B.    "Auto" means a land motor vehicle with four or more wheels, which is designated for use mainly on public roads.
      "Auto" also includes "trailers" with a maximum hauling capacity of two cars or light trucks, or less, or any other
      "trailer" listed on the Declarations page.

      The following additional symbols are added to SECTION I - COVERED AUTOS, A. Description of Covered
      Auto Designation Symbols




                      Symbol                                 Description of Covered Auto Designation Symbols

                         32                    Premises and operations medical payments only.


                         33                    Any "auto" except for tow trucks, wreckers, car haulers, car
                                               carriers, or haulaways.


                                               Any "auto" you own, but not including tow trucks, wreckers, car
                         34                    haulers, car carriers, or haulaways, and also not including any "auto"
                                               used primarily for towing or transporting other "autos" or vehicles.



      …

      The following is added to SECTION II - LIABILITY COVERAGE, A. Coverage, 3. Who Is An Insured, a., (2):
(f)   Any member of your or any partner's (if you are a partnership) or any member's (if you are a limited liability
      company) household, unless that individual has been listed in the Declarations as a Driver.

      …

      The following is added to SECTION II- LIABILITY COVERAGE, B. Exclusions:

18.   “Bodily injury”, “property damage” or any other damages caused or alleged to be caused by or ari out of the
      handling or use of or the existence of any condition in or a warranty of any goods or products manufactured, sold,
      handled, or distributed by any insured.
19.   “Bodily injury”, “property damage”, or any other damages if caused by or resulting from your providing or failing to
      provide warnings or instructions, or your failure to meet the quality warranted or the level of performance
      represented.
20.   Punitive and/or exemplary damages. Punitive or exemplary damages are damages imposed to punish
      wrongdoers and to deter others from similar conduct. This also includes multiplicative damages and any other
      legal basis that requires proof of the same standard of conduct necessary to support an award of punitive
      damages under the law of the state where they are awarded.

      …

25.   This policy covers only your "garage operations" at locations identified as part of your insurance policy. All other
      businesses owned and operated by you are excluded. "Garage Operations" does not include any car rental or
      leasing activities at any business you may own or operate.

…
39.   The Policy only provides liability coverage for an “accident.”

40.   The claims made in the Counterclaim are for intentional conduct and do not constitute an


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      “accident”.

41.   The Policy only provides liability coverage for “bodily injury” or “property damage”.

42.   The claims made in the Counterclaim do not constitute a “bodily injury” or “property

      damage” as defined in the Policy.

43.   The Counterclaim alleges an entitlement to punitive damages.

44.   The Policy specifically excludes coverage for punitive damages.

45.   The claims in the Counterclaim arise as a result of a representation by Dr. Folorunsho as

      to the condition of the Vehicle.

46.   The Policy specifically excludes coverage for “bodily injury” or “property damage” which

      may arise as a result of a representation by the insured as to a condition or warranty.

47.   There are substantial material issues which exist as to the coverage to be afforded to

      Legend Auto Sales, LLC and Dr. Femi Folorunsho for the claims by Liberty Mutual

      General Insurance Company which require determination by this Court.

48.   Southern Pioneer asserts that no coverage is provided by the Policy for the claims in the

      Counterclaim against Legend or Dr. Folorunsho.

49.   Southern Pioneer specifically asks this Court to determine, consistent with the positive

      law of Tennessee that under the terms, conditions and exclusions of the Garage Policy that

      there is no coverage for the claims asserted by Liberty Mutual in the Counterclaim against

      Legend or Dr. Folorunsho, and no obligation on the part of Southern Pioneer to defend or

      indemnify either Legend or Dr. Folorunsho in any way related to the claims made.

50.   The adjudication of all rights of all parties hereto is necessary to avoid inconsistent, costly

      and duplicative rulings concerning these issues.


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51.    For these reasons and for such other reasons which may be learned in discovery herein,

       Southern Pioneer seeks this Court’s determination that there is no duty to defend or

       indemnify Legend Auto Sales, LLC, Dr. Femi Folorunsho, or any other insureds under the

       Policy for the claims made by Liberty Mutual in the Circuit Court Counterclaim.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Southern Pioneer, respectfully

requests that this Court enter its order declaring Southern Pioneer’s rights and duties under the

contract of insurance issued to Legend Auto Sales, LLC, as outlined herein. Southern Pioneer

further requests such other general or special relief to which it may be entitled including its costs,

expenses and attorneys fees incurred in connection with this action and pre-judgment and post-

judgment interest on all amounts, if applicable.

       RESPECTFULLY SUBMITTED, this the 29th day of September, 2016.


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                                              ROECHELLE R. MORGAN




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